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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                            April 03, 2023
                                                                                                         Nathan Ochsner, Clerk
                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    IEH AUTO PARTS HOLDING LLC, et al.,1                             ) Case No. 23-90054 (CML)
                                                                     )
                                       Debtors.                      ) RE: (Docket No. 183 )


     ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF THE LAW
    OFFICE OF LIZ FREEMAN, PLLC AS CO-COUNSEL AND CONFLICTS COUNSEL
               FOR THE DEBTORS AND DEBTORS-IN-POSSESSION

             The Court considered the Application to Retain The Law Office of Liz Freeman, PLLC

(the “Firm”) as Counsel for the Debtors and Debtors-in-Possession (the “Application”) pursuant

to 11 U.S.C. §§ 327(a) and 330, filed by the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”), is of the opinion that the requested relief is in the best interest of the

estates and their creditors; that the Firm represents no interest adverse to the estates in the matters

upon which it is to be engaged and are disinterested persons within the definition of 11 U.S.C.

§ 101(14); and that the Application should be approved. It is therefore ORDERED THAT:

             1.    The Debtors are authorized to retain and employ the Firm as counsel upon the terms

and conditions set forth in the Application.




1     The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: IEH Auto Parts Holding LLC (6529); AP Acquisition Company Clark LLC (4531);
      AP Acquisition Company Gordon LLC (5666); AP Acquisition Company Massachusetts LLC (7581);
      AP Acquisition Company Missouri LLC (7840); AP Acquisition Company New York LLC (7361); AP
      Acquisition Company North Carolina LLC (N/A); AP Acquisition Company Washington LLC (2773); Auto Plus
      Auto Sales LLC (6921); IEH AIM LLC (2233); IEH Auto Parts LLC (2066); IEH Auto Parts Puerto Rico, Inc.
      (4539); and IEH BA LLC (1428). The Debtors’ service address is: 112 Townpark Drive NW, Suite 300,
      Kennesaw, GA 30144.

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       2.      The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ Chapter 11 Cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Bankruptcy Local Rules, and any other applicable procedures and orders of the

Court. For billing purposes, the Firm shall keep its time in one tenth (1/10) hour increments. The

Firm shall use reasonable efforts to avoid any duplication of services provided by any of the

Debtors’ other chapter 11 professionals in these Chapter 11 Cases.

       3.      The Firm will review its files periodically during the pendency of these Chapter 11

Cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, the Firm will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Fed. R. Bankr. P. 2014(a).

       4.      To the extent the Application or the Freeman Declaration is inconsistent with this

Order, the terms of this Order shall govern.

       5.      The Firm shall not be entitled to reimbursement for fees and expenses incurred in

connection with any objection to its fees absent further order of the Court.

       6.      The Firm shall not seek to increase its rates without filing an application and

obtaining an order of the Court. The U.S. Trustee retains all rights to object to any hourly rate

increases on all grounds, including the reasonableness standard set forth in section 330 of the

Bankruptcy Code.

       7.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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       8.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.


 Dated: ___________, 2023
           August
           April 03, 02,
                     20232019
                                                    CHRISTOPHER M. LOPEZ
                                                    UNITED STATES BANKRUPTCY JUDGE




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